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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                      CRIMINAL MINUTES - GENERAL


  Case No.      CR 18-00828-DSF                                                      Date      July 12, 2021


  Present: The Honorable        DALE S. FISCHER, United States District Judge
  Interpreter     N/A
                Derek Davis                            Pat Cuneo                     Marina A Torres - VTC
                Deputy Clerk                      Court Reporter                     Assistant U.S. Attorney


      U.S.A. v. Defendant(s):      Present   Custody      S/R         Attorney(s) for Defendant(s):      Present App. Ret.

Steven James Gutierrez – VTC         √                    √        Michael L. Brown, DFPD - VTC             √       √


                    PRELIMINARY REVOCATION OF SUPERVISED RELEASE
  Proceedings:      (Non-Evidentiary - Held and Completed)

       The matter is called and counsel state their appearances. Also present is Jenny Ulloa,
USPO. The Court and counsel confer. The defendant is sworn and the defendant admits
allegations one, two, three, four, and six as set forth in the Petition on Probation and Supervised
Release, filed June 15, 2021. As stated in court and on the record, allegation 3 is amended as
follows:

“Having been ordered by the Court to refrain from any unlawful use of controlled substances, on
or before November 23, 2020, Steven Gutierrez used cannabinoids as evidenced by initial
laboratory analysis of his urine sample and the offender's written and verbal admission of use of
that substance.”

       The Court questions the defendant regarding his waiver of his right to a revocation hearing
and his admissions of having violated the terms and conditions of his supervised release. The
Court finds that defendant entered his admissions freely and voluntarily, with a full understanding
of the allegations against him and the consequences of his admissions. The Court also finds that
the defendant understands his constitutional and statutory rights and wishes to waive them and
that the defendant is in violation of the terms and conditions of his supervised release. The Court
orders the admissions accepted and entered.

      At defense counsel’s request, the Court continues sentencing to September 27, 2021 at
10:00 a.m.
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